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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

CITY OF ALMATY, KAZAKHSTAN and BTA
BANK JSC,
Plaintiffs,

_against_ 15 Civ. 5345 (AJN) (KHP)

MUKHTAR ABLYAZOV, VIKTOR
KHMPUNOV, ILYAS KHRAPUNOV, and
TRIADOU SPV S.A.,

Defendants.

 

 

DECLARATION OF SOPHIE ROYTBLAT

SOPHIE ROYTBLAT, pursuant to 28 U.S.C. § 1746, declares the following under
penalty of perjury:

l. l am a paralegal in the law firm of Boies Schiller Flexner LLP (“BSF”), counsel
for Plaintiffs BTA Bank and the City of Almaty, Kazakhstan (the “Kazakh Entities”) in the
above-referenced action.

2. On October ll, 2017, defendants Ilyas and Viktor Khrapunov (the “Khrapunovs”)
and Triadou SPV S.A. took the deposition of Kenges Rakishev (“The Deposition”).

3. On October 20, 2017, l received a copy of Mr. Rakishev’s entire deposition
transcript (the “Transcript”) by e-mail from Mike Cline of Magna Legal Services. l have also had
access to the Transcript in a restricted folder on BSF’s servers.

4. I have not sent, transferred, or provided access to the Transcript to anyone outside
of BSF. To the best of my knowledge, no one at BSF has distributed the Transcript to anyone

outside of BSF, including to our clients.

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5. Attached as Exhibit 1 is a true and correct copy of the November 30, 2016
Stipulated Protective Order in this action [ECF No. 253].

6. Attached as Exhibit 2 is a true and correct copy of a post on the personal
Facebook page of Viktor Khrapunov, dated September 15, 2017, which posted the notice of Mr.
Rakishev’s deposition and additional comments (the “Facebook Post”). A certified translation of
the Facebook Post is attached as Exhibits 2-T. Attached as Exhibit 3 is a true and correct copy a
post from Ilyas Khrapunov’s personal Facebook page from that same day sharing the Facebook
Post.

7. To the best of my knowledge, the Facebook Post is still publicly available as of
the date of this Declaration.

8. Attached as Exhibit 4 is a true and correct copy of a protective order issued by
Magistrate Judge Katharine H. Parker, dated October 10, 2017 [ECF No. 439].

9. The Deposition was recorded by stenography and videography by Magna Legal
Services (“Magna”). The court reporter transcribing the deposition was Leslie Fagin, of Magna.

10. Attached as Exhibits 5 and 6 are true and correct copies of a page from a file-
sharing website named Fex.Net (the “File-Sharing Website”) hosting a copy of the Transcript,
which indicate that the Transcript was uploaded to the File-Sharing Website on “October 26,
2017 6:30 AM.”

11. The copy of the Transcript uploaded to the File-Sharing Website was titled
“MaTepI/lanbl no neny,” translated from Russian-to-English as “Case materials.”

12. l have reviewed a copy of the Transcript uploaded to the File-Sharing Website,

and to the best of my knowledge it is identical in content to that distributed by Magna.

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13. Attached as Exhibit 7 is a true and correct copy of a screenshot displaying
metadata associated with the copy of the Transcript posted on the File-Shaiing Website,
indicating that that it was created on October 24, 2017.

14. Attached as EXhibit 8 is a true and correct copy of an article posted on a Russian-
language website “URA-Inform,” titled “Cyz[eGHi,iFi ripoi[ecc 06 oTMbiBaHI/II/I zii<oobi
rioXI/iiueHHLix B KasachaHe /:[eHer npi/iHsiJi Heo)i<nzlaHHbii¥i IioBopoT,” translated from Russian-to-
English as “Trial on Laundering of Money Allegedly Stolen in Kazakhstan Takes Unexpected
Turn” and with a time stamp “13:48 26.10.2017” (the “URA-Inform Post”). A certified
translation of the URA-Inform Post is attached as Exhibit S-T.

15. To the best of my knowledge, URA-Inform Post is still publicly available as of
the date of this Declaration.

16. The URA-lnform Post stated, in Russian, that “[w]e obtained this confidential
document from a person representing a BTA Bank employee He is familiar with the course of
the case through his wor .”

17. The URA-lnform Post included screenshots of certain pages of the Transcript,
including the page on which counsel for BTA/Almaty designated the Transcript confidential.
The URA-Inform Post also linked to and directed readers to the File-Sharing Website hosting the
Transcript.

18. Attached as Exhibit 9 is a true and correct copy of an e-mail sent by counsel for
the Khrapunovs at approximately 9:56 p.m. ET on October 26, 2017, attaching a letter motion to
remove the confidentiality designation over portions of the Transcript [ECF No. 452].

19. To the best of my knowledge, the Transcript is no longer available on the File-

Sliaring Website, and was removed no latcr than November 6, 2017. A true and correct copy of

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a screenshot of the redirected webpage indicating the deletion as of November 6, 2017, is
attached as Exhibit 10. Attached as Exhibit 11 is a true and correct copy of a screenshot from
November 15, 2017, of the same web address immediately before the webpage is redirected.

20. Attached as Exhibit 12 is a true and correct copy of a webpage titled
“CryptoHeaven Zero-Knowledge Secure Online Storage”, available at:
http://www.cryptoheaven.com/online-storage.htm

21. Attached as Exhibit 13 is a true and correct copy of a webpage titled
“CryptoVault - Secure Online File & Document Storage”, available at:
http://www.cryptoheaven.corn/UserGuide/Secure-File-Storage-CryptoVault.htm

22. Attached as Exhibit 14 is a true and correct copy of a September 25, 2017 letter
from John Kenney to Hon. Katharine H. Parker [ECF No. 422].

23. Attached as Exhibit 15 is a true and correct copy of the July 12, 2017 sworn
interrogatory responses of Ilyas Khrapunov.

24. Attached as Exhibit 16 is a true and correct copy of an August 8, 2017 email from
Martin Dowd to Daniel Boyle, previously produced in this action, Bates stamped Almaty-
BTA023 1 771 .

25. Attached as Exhibit 17 is a true and correct copy of pages 81-85 of the September
11, 2017 deposition testimony of Nicolas Bourg.

26. Attached as Exhibit 18 is a true and correct copy of a privilege log produced by
Hoguet, Newman, Regal & Kenny, LLP, in response to a subpoena dated November 7, 2017.

27. Attached as Exhibit 19 is a true and correct copy of a document previously

produced in this action, Bates stamped Almaty-BTA0166281.

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28. Attached as Exhibit 20 is a true and correct copy of a document previously
produced in this action, Bates stamped Almaty-BTA0231539.

29. Attached as Exhibit 21 is a true and correct copy of a document previously
produced in this action, Bates stamped Almaty-BTA0231587.

30. Attached as Exhibit 22 is a true and correct copy of a document previously
produced in this action, Bates stamped Almaty-BTA0231592.

31. Attached as Exhibit 23 is a true and correct copy of a document previously
produced in this action, Bates stamped Almaty-BTA0231601.

32. Attached as Exhibit 24 is a true and correct copy of a document previously
produced in this action, Bates stamped Almaty-BTA0231611.

33. Attached as Exhibit 25 is a true and correct copy of a document previously
produced in this action, Bates stamped Almaty-BTA0231778.

34. Attached as Exhibit 26 is a true and correct copy of a document previously
produced in this action, Bates stamped Almaty-BTA0236195.

35. Attached as Exhibit 27 is a true and correct copy of a document previously
produced in this action, Bates stamped KHRAPUNOV0001196.

36. Attached as Exhibit 28 is a true and correct copy of a document previously
produced in this action, Bates stamped KHRAPUNOV0001206.

37. Attached as Exhibit 29 is a true and correct copy of the May 20, 2015 Fourth
Witness Statement of Matthew George Jenkins, in U.K. High Court of Justice action number
2015 CL 549.

Dated: ' New York, New York
November@, 2017

Sophie Ro b at

